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                              EXHIBIT 1
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UNITED ARAB EMIRATES                                                                    ~1.,1.ou• .-u,:a
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  PRESIDENTIAL CAMELS AND                                                   ~UL+-wJI a , ~ U:a>-e
CAMEL RACING AFFAIRS CENTRE                                                            .l...wU_.11 ~ •
SECTOR OF SCIENTIFIC CENTERS                                                       ~       •j.St..,lt e._UJ
   & PRESIDENTIAL CAMELS                                                               ......~ • ~.J




     Ref: Uf- I- 2-(IIPj
     Date: 30/06/2019




                                          To Whom It May Concern

              Seth Fishman DVM has been working closely with our department and other departments
     in the UAE for the past 8 years. During this time we have asked him to coordinate and pilot many
     products for our private and confidential use. These products are not commercial products, and
     are for discretionary use by authorized personnel only. The product, usage and liabilities exist and
     remain under our strict governance. These products were thoroughly discussed and evaluated by
     our scientific officers, and pose NO risk to the public. Certain details and specifics are
     confidential.

             We appreciate and understand your agency has policies and mandates that must be
     followed at all times. We fully understand, and respect your obligation to in.vestigate anything
     within your jurisdiction. It is NOT our intention to interfere with your policies and practices. We
     simply would like to facilitate unnecessary delays and offer clarification directly on any issues that
     require any further understanding or actions. If there is any questions please contact Seth
     Fishman DVM directly for details. If the matter requires the attention or regards issues you prefer
     to discuss privately or directly with our department then feel free to contact me.

     Truly appreciate your assistance on this matter.




                                                                                 Contact No. +971507834373
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                              EXHIBIT 2
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 CA MEL RACI NG AFFAIRS CE NTRE                                                                                                 L.i.u~.,JI . .                 9
 SECTOR OF SCIENTIFI C CENTERS                                                                                              , .: .,1-r•j.S.!.,J.1tu.J
     8. PRESIDE NTIAL CAM ELS                                                                                                   "--4.u...J           ~J

                                                                                                             10 111 AUG ,2019



                         Reshipment From Equestology, United States of America
                                       To whom it may concern


              This shipment from cqucstology, USA contains samples of\'eterin.1ry medicine
              required by the presidential camels and camel racing affairs centre -Sector of
              scientic centres & presidential camels owned by his highness the president of
              UAE.
               These Items are to be used solely for c11mels owned by H.II.The President.All
              these items have been sourced specifically from supplier - they are not available
              in the UAE in this form and in many cases ha"e been customized for the specific
              requirements of racing camels. The items are:


              1- Dl\1: ITPP
              2- EQUIACE : AICAR
              3- IIP BLEEDER
              4- THUNDER: SILVER DRINK
              5-THUNDER XS: SILVER SAMPLE
              6-BRA VE : GOLD DRINK
              7-NEW LIFE: RED
              8-   1   EW LIFE PLUS: FREE SAMPLE
              9- 7SPORT : GREEN

              There ~lre no prohibited or dangerous substances in this shipment.
              ~one of the items are for sale and do not hold commercial value.
              Attached are all the necessary documents are requested to allow for clearance
              through customs and we ask for your assistance in providing this.
                                                   /   .,.,,-- .
              YOURS SINCERELY,
                          1_

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             Presidential Camels and Camel Racing Affairs centre
             Sector of Scientic centres & Presidential Camels




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         Tel. : XX-XXXXXXX - Fa, : 03-768646-t - P.O. Box : 17292 - Al Aiu - l ' nited Ara b Emit-ates
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                              EXHIBIT 3
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UNITED ARAB EMIRATES                                                                                    Lip
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   PRESIDENTIAL CAMELS AND                                                       ...::.-1.91, wU~~~H
 CAMEL RACING AFFAIRS CENTRE                                                                d....wU}ll~
 SECTOR OF SCIENTIFIC CENTERS
    & PRESIDENTIAL CAMELS
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      March, 22 nd 2020


                                       To Whom It May Concern


      For over 8 years, Seth Fishman has been working closely with several members of
      our staff. He has visited the UAE on many occasions and has spent a considerable
      amount of time at our main facility. We have lab technicians, scientists, and doctors
      employed from different nationalities working together to advance veterinary
      medicine. Our main focus is camels

      Our performance camels are a significant part of our culture. And we, Sector Of
      Scientific Centers & Presidential Camels, in United Arab Emirates, we have tested
      all of Dr. Fishman's products and they have all met or exceeded the agreed
      specifications.

      Our facilities are NOT FDA registered either nor do we intend to register them. We
      have never had any quality or safety issues with any products made by Dr. Fishman.


      Our camel herd with very high value; traditionally and economically, camels
      are significant local revenue stream for our citizens. Our breeding season runs from
      January to March and it has been affected by the sudden loss of anticipated breeding
      products just prior to the start of the season.




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         TeL: XX-XXXXXXX - :F ax: XX-XXXXXXX - P.O. Box: 17292 - Al A.in- Cnited Arab Emirates
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UNITED ARAB EMIRATES                                                         ,4-, '; o,If 4.)-IJI ...::1f.,lo     LI
   PRESIDENTIAL CAMELS AND                                                       ...::,l4l   !   •HO::,9~    ~J-4
 CAMEL RACING AFFAIRS CENTRE                                                                 d.,..wlj_.11 ~
 SECTOR OF SCIENTIFIC CENTERS
    &. PRESIDENTIAL CAMELS
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            ITEM                                       QTY     ITEM                                QTY
            AIPDPA                                     300     MGF                                 250
            BPRB BLUE                                  250     MHPI                                 125
            BPRBPLUS                                   600     MHPlBP                               125
            Bumadex-AM                                  100    MHPIDMT                              125
            Deslorelin                                 1200    INeuro Block NRB IO 13               150
            DMTNB                                       125    INBN 3. 15 & 5.3                     150
            EBB                                        300     INBO 3.2 & 5.5                       150
            EMP Yellow Cap Sample                      300     INPPl-34D                           250
            EMPL Yellow Cap                            350     NPPl-40HD (CMPD40)                  300
            EMP                                        300     NPPI-DI I (Dvnomhin)                250
            IEMP BBi                                   200     NPXI                                250
            EMP 882                                    400     NPX2                                250
            EMP B83                                    400     NPX Oral                             50
            Equi-Mass / PG2                            400     P2DP (PDP2 for Andrew)              300
            Eaui-oxide "Bovine"                        400     PAP2 ER                             300
            Eaui-Tide                                  250      PAP2 XRT(EXT)                      300
            E20CP                                      200      PDP( PAP2)                          300
            FAB                                         150     PDP ORAL(PAP2 ORAL)                  50
            FAB PLUS                                    125     PG2(Equimass)                       300
            Flumetanide 30 mL                           50      Progesterone VITE 50 mL            600
            Flumetanide 50 mL                           50      Progesterone                       600
            FP-81                                       150     Robinol                             600
            G2                                          150     RCABB EEPM6 I9                     400
            IG2                                         75      ST Pain                            250
            Glutathione 1.5 g                           300     ST Pain (silver cap)               250
            HP Bleeder PLUS                            400      SOD 10mg                            300
             HP Bleeder                                400      SODHSP-C                            500
             HSP250                                    400      SODHSP25                            500
             Hvdrocortisone Succinate 500 mg (AM)       500     SODHSPl25                           300
             ITP Plus (IDM)                             600     VO2MAX ++                           350
             Kanoa Agnoist                              250    Zoledren                             250
             LAC Diluent                                200    AICAR                               1200
             Lime Green 3ml Amber Vial(GCA V) EEPOF     300
             Lola &Lola Diluent                         250




      Sincerely,



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          ~'                         1
      SECTOR OF SC       TIFIC CENTERS
        &PRESIDEN        L CAMELS
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         Tel.: XX-XXXXXXX- l<'ax : 03-768<-464 - P.O. Box: 17292 - Al Ain - Cnited Ar-.ib Emirates
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                              EXHIBIT4
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 AO 93 (Rev. 12/09) Search and Seizure Warrant




                                       UNITED STATES DISTRICT Co
                                                                     for the
                                                           Southern District of Florida

                   In the Matter of the Search of                             )
               (Briefly describe the properly to be searched                  )
                or identify the person by name and address)                   ) CaseNo.
  The premises located at 2565 S. Ocean Boulevard, #412N, Boca
                                                                              )
  Raton, Florida 33487; 3500 NW 2nd Avenue, #723, Boca Raton,                 )
Florida 33431 and the storage unit number 757 located at Smartship            )
 Self Storage, 189 Linton Boulevard, Delray Beach, Florida 33444,

                                                 SEARCH AND SEIZURE WARRANT
 To:      Any authorized law enforcement officer

         An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the        Southern           District of            Florida
(identify the person or describe the property to be searched and give its location) :

                                                               See Attachment "A"

          The person or property to be searched, described above, is believed to conceal (identify the person or describe the
properly to be seized):

                                                            See Attachment "B"

        I find th.at the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or
property.

          YOU ARE COMMANDED to execute this warrant on or before                                           ll-7-2d1
                                                                                                           (not to exceed 14 days)
       0 in the daytime 6:00 a.m. to 10 p.m.                   fl at any time in the day or night as I find reasonable cause has been
                                                                  established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property
taken to the person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the
place where the property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an
inventory as required by law and promptly return this warrant and inventory to United States Magistrate Judge
                          Duty Judge
                                  (name)

      0 I find that immediate notification may have an adverse result listed in 18 U .S.C. § 2705 (except for delay
of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose property, will be
searched or seized (check the appropriate box) 0 for _ _ __ days (not to exceed 30).
                                                       0 until, the facts justifying, the later specific date of


Date and time issued:                                                                   Q..,2~t2-.---------
                                                                                                     Judge's signature

City and state:      yYest Palm Beach, Florida                                      Dave Lee Brannon, United States Magistrate Judge
                                                                                                   Printed name and title
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     ATTACHMENT A

     I. Premises to be Searched

             The premises to be searched ("Subject Premises-1 ") is described as follows, and includes
     all locked and closed containers found therein:

            The Subject Premises are particularly described as a residential apartment located at 2565
     S. Ocean Blvd. #412N, Boca Raton, Florida 33487 17 in the north building of a multi-story, two-
     building apartment complex. Subject Premises-I is depicted below:




    Il. Items to Be Seized

         B. Evidence, Fruits, and Instrumentalities of the Subject Offenses

    The items to be seized from the Subject Premises include the following evidence, fruits, and
    instrumentalities of violations" of 21 U.S.C. §§ 331,333, and 352 (misbranding) and 21 U.S.C. §
    841 (narcotics distribution) (the "Subject Offenses") described as follows:

           1.      Evidence concerning occupancy or ownership of the Subject Premises, including
    without limitation, utility and telephone bills, mail envelopes, addressed correspondence, diaries,
    statements, identification documents, address books, telephone directories, and keys.

           2.       Computer devices, storage media, and related electronic equipment used to access,
    transmit, or store information relating to the Subject Offenses.


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      A public search for 2565 S. Ocean Blvd., Boca Raton, Florida 33487, displays a location and
    corrected address of2565 S. Ocean Blvd., Highland Beach, Florida 33487. Both these addresses
    refer back to the same location, i.e., Subject Premises-I.

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            3.      Evidence of counter-forensic programs (and associated data) that are designed to
     eliminate data from computer devices, storage media, and related electronic equipment

             4.     Correspondence and records pertaining to the procurement, development,
     manufacture, shipment, purchase, sale, or distribution of misbranded drugs including, but not
     limited to envelopes, letters, mailings, electronic mail, chat logs, electronic messages, books,
     ledgers, and records bearing on the production, reproduction, receipt, shipment, orders, requests,
     trades, purchases, or transactions involving misbranded drugs.

           5.      Information or correspondence pertaining to the procurement, development,
     manufacture, shipment, purchase, sale, or distribution of misbranded drugs.

              6.      Any records of customers, suppliers, manufacturers, compounders, employees, or
     other individuals engaged in the procurement, development, manufacture, shipment, purchase,
     sale, or distribution of misbranded drugs.

            7.     Any misbranded, adulterated or unapproved drugs, drugs, pharmaceutical
    ingredients and products. All labeling, packaging, literature, inserts, and other materials pertaining
    to these products.

           8.     All business records, contracts, agreements and related correspondence, in
    whatever form, including handwritten and computer generated, involving the acquisition,
    manufacture, development, sale, and distribution of misbranded, adulterated, or unapproved drugs,
    and any associated business entities pertaining to the illegal purchase, possession, and
    unauthorized distribution of any of drugs, pharmaceutical ingredients and products and
    misbranded, adulterated and unapproved drugs.

            9.      Address books, mailing lists, supplier lists, and any and all documents and records
    pertaining to the preparation, purchase, and acquisition of names or lists of names pertaining to
    the purchasing and selling of drugs, pharmaceutical ingredients and products and misbranded,
    adulterated or unapproved drugs.

            10.    Evidence of purchases and sales of drugs, pharmaceutical ingredients and products
    and misbranded, adulterated or unapproved drugs, to include not limited to, bank statements, credit
    card statements, cancelled checks and checkbooks.

        C. Search and Seizure of Electronically Stored Information

            The items to be seized from the Subject Premises also include any computer devices and
    storage media that may contain any electronically stored information falling within the categories
    set forth in Section II.A of this Attachment above, including, but not limited to, desktop and laptop
    computers, disk drives, modems, thumb drives, personal digital assistants, smart phones, digital
    cameras, and scanners. In lieu of seizing any such computer devices or storage media, this warrant
    also authorizes the copying of such devices or media for later review.


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               The items to be seized from the Subject Premises also include:

            1.       Any items or records needed to access the data stored on any seized or copied
     computer devices or storage media, including but not limited to any physical keys, encryption
     devices, or records oflogin credentials, passwords, private encryption keys, or similar information.

            2.     Any items or records that may facilitate a forensic examination of the computer
     devices or storage media, including any hardware or software manuals or other information
     concerning the configuration of the seized or copied computer devices or storage media.

             3.     Any evidence concerning the identities or locations of those persons with access to,
     control over, or ownership of the seized or copied computer devices or storage media.

        D. Review of ESI

            Following seizure of any computer devices and storage media and/or the creation of
    forensic image copies, law enforcement personnel (who may include, in addition to law
    enforcement officers and agents, attorneys for the government, attorney support staff, agency
    personnel assisting the government in this investigation, and outside technical experts under
    government control) are authorized to review the ES! contained therein for information responsive
    to the warrant.

           In conducting this review, law enforcement personnel may use various techniques to locate
    information responsive to the warrant, including, for example:

            •    surveying various file "directories" and the individual files they contain (analogous to
                 looking at the outside of a file cabinet for the markings it contains and opening a drawer
                 believed to contain pertinent files);

            •    opening or cursorily reading the first few "pages" of such files in order to determine
                 their precise contents;

           •     scanning storage areas to discover and possibly recover recently deleted files or
                 deliberately bidden files;

           •     performing key word searches through all electronic storage areas to determine whether
                 occurrences oflanguage contained in such storage areas exist that are intimately related
                 to the subject matter of the investigation; and

           •     reviewing meta.data, system information, configuration files, registry data, and any
                 other information reflecting how, when, and by whom the computer was used.

           Law enforcement personnel will make reasonable efforts to search only for files,
    documents, or other electronically stored information within the categories identified in Sections
    II.A and II.B of this Attachment. However, law enforcement personnel are authorized to conduct
    a complete review of all the ESI from seized devices or storage media if necessary to evaluate its
    contents and to locate all data responsive to the warrant.

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     ATTACHMENT B

     ID. Premises to be Searched-Subject Premises

             The premises to be searched ("Subject Premises-2") is described as follows, and includes
     all locked and closed containers found therein:

             The Subject Premises are particularly described as a ground floor business premises at
     3500 NW 2 nd Ave. 18 #723, Boca Raton, Florida 33431 within the Boca Design Center business
     park (a single-story, multi-unit storage facility), with the number "723" displayed on the tinted
     glass entry door and a garage bay door to the right of the glass door entrance. Subject Premises-2
     is depicted below:




    IV. Items to Be Seized

         B. Evidence, Fruits, and Instrumentalities of the Subject Offenses

    The items to be seized from the Subject Premises include the following evidence, fruits, and
    instrumentalities of violations of 21 U.S:C. §§ 331, 333, and 352 (misbranding) and 21 U.S.C. §
    841 (narcotics distribution) (the "Subject Offenses") described as follows:

           1.      Evidence concerning occupancy or ownership of the Subject Premises, including
    without limitation, utility and telephone bills, mail envelopes, addressed correspondence, diaries,
    statements, identification documents, address books, telephone directories, and keys.

           2.       Computer devices, storage media, and related electronic equipment used to access,
    transmit, or store information relating to the Subject Offenses.

    18Based on my review of open source images displaying the street sign for "NW 2 nd Ave" I have
    learned that this street is alternatively called ''NW Boca Raton Blvd." Based on the foregoing, I
    believe the street address of Subject Premises-2 and the street address 3500 NW Boca Raton
    Blvd. #723, Boca Raton, Florida 33431 are the same location.

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            3.      Evidence of counter-forensic programs (and associated data) that are designed to
     eliminate data from computer devices, storage media, and related electronic equipment.

             4.     Correspondence and records pertaining to the procurement, development,
     manufacture, shipment, purchase, sale, or distribution of misbranded drugs including, but not
     limited to envelopes, letters, mailings, electronic mail, chat logs, electronic messages, books,
     ledgers, and records bearing on the production, reproduction, receipt, shipment, orders, requests,
     trades, purchases, or transactions involving misbranded drugs.

           5.      Information or correspondence pertaining to the procurement, development,
     manufacture, shipment, purchase, sale, or distribution of misbranded drugs.

              6.      Any records of customers, suppliers, manufacturers, compounders, employees, or
     other individuals engaged in the procurement, development, manufacture, shipment, purchase,
     sale, or distribution of misbranded drugs.

            7.     Any misbranded, adulterated or unapproved drugs, drugs, pharmaceutical
    ingredients and products. All labeling, packaging, literature, inserts, and other materials pertaining
    to these products.

           8.     All business records, contracts, agreements and related correspondence, in
    whatever form, including handwritten and computer generated, involving the acquisition,
    manufacture, development, sale, and distribution of misbranded, adulterated, or unapproved drugs,
    and any associated business entities pertaining to the illegal purchase, possession, and
    unauthorized distribution of any of drugs, pharmaceutical ingredients and products and
    misbranded, adulterated and unapproved drugs:

            9.      Address books, mailing lists, supplier lists, and any and all documents and records
    pertaining to the preparation, purchase, and acquisition of names or lists of names pertaining to
    the purchasing and selling of drugs, pharmaceutical ingredients and products and misbranded,
    adulterated or unapproved drugs.

            10.    Evidence of purchases and sales of drugs, pharmaceutical ingredients and products
    and misbranded, adulterated or unapproved drugs, to include not limited to, bank statements, credit
    card statements, cancelled checks and checkbooks.

        C. Search and Seizure of Electronically Stored Information
            The items to be seized from the Subject Premises also include any computer devices and
    storage media that may contain any electronically stored information falling within the categories
    set forth in Section II.A of this Attachment above, including, but not limited to, desktop and laptop
    computers, disk drives, modems, thumb drives, personal digital assistants, smart phones, digital
    cameras, and scanners. In lieu of seizing any such computer devices or storage media, this warrant
    also authorizes the copying of such devices or media for later review.



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            The items to be seized from the Subject Premises also include:

             1.      Any items or records needed to access the data stored on any seized or copied
     computer devices or storage media, including but not limited to any physical keys, encryption
     devices, or records oflogin credentials, passwords, private encryption keys, or similar information.

            2.     Any items or records that may facilitate a forensic examination of the computer
     devices or storage media, including any hardware or software manuals or other information
     concerning the configuration of the seized or copied computer devices or storage media

             3.     Any evidence conce,rning the identities or locations of those persons with access to,
     control over, or ownership of the seized or copied computer devices or storage media.

        D. Review of ESI

            Following seizure of any computer devices and storage media and/or the creation of
    forensic image copies, law enforcement personnel (who may include, in addition to law
    enforcement officers and agents, attorneys for the government, attorney support staff, agency
    personnel assisting the government in this investigation, and outside technical experts under
    government control) are authorized to review the ESI contained therein for information responsive
    to the warrant

           In conducting this review, law enforcement personnel may use various techniques to locate
    information responsive to the warrant, including, for example:

            •   surveying various file "directories" and the individual files they contain (analogous to
                looking at the outside of a file cabinet for the markings it contains and opening a drawer
                believed to contain pertinent files);

            •   opening or cursorily reading the first few "pages" of such files in order to determine
                their precise contents;

            •   scanning storage areas to discover and possibly recover recently deleted files or
                deliberately hidden files;

            •   performing key word searches through all electronic storage areas to determine whether
                occurrences oflanguage contained in such storage areas exist that are intimately related
                to the subject matter of the investigation; and

            •   reviewing metadata, system information, configuration files, registry data, and any
                other information reflecting how, when, and by whom the computer was used.

           Law enforcement personnel will make reasonable efforts to search only for files ,
    documents, or other electronically stored information within the categories identified in Sections
    II.A and II.B of this Attachment. However,.law enforcement personnel are authorized to conduct
    a complete review of all the ESI from seized devices or storage media if necessary to evaluate its
    contents and to locate all data responsive to the warrant.

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     AITACHMENT C

     I. Premises to be Searched--Subject Premises

             The premises to be searched ("Subject Premises-3") is described as follows, and includes
     all locked and closed containers found therein:

     The storage unit associated with number 757 located at Smartship Self Storage, 189 Linton Blvd.
     Delray Beach, Florida 33444, which is a storage unit within a larger warehouse containing multiple
     storage units.

     II. Items to Be Seized

        B. Evidence, Fruits, and Instrumentalities of the Subject Offenses

     The items to be seized from the Subject Premises include the following evidence, fruits, and
     instrumentalities of violations of 21 U.S.C. §§ 331, 333, and 352 (misbranding) and 21 U.S.C. §
     841 (narcotics distribution) (the "Subject Offenses") described as follows:

           1.      Evidence concerning occupancy or ownership of the Subject Premises, including
    without limitation, utility and telephone bills, mail envelopes, addressed correspondence, diaries,
    statements, identification documents, address books, telephone directories, and keys.

           2.       Computer devices, storage media, and related electronic equipment used to access,
    transmit, or store information relating to the Subject Offenses.


           3.      Evidence of counter-forensic programs (and associated data) that are designed to
    eliminate data from computer devices, storage media, and related electronic equipment.

            4.     Correspondence and records pertaining to the procurement, development,
    manufacture, shipment, purchase, sale, or distribution of misbranded drugs including, but not
    limited to envelopes, letters, mailings, electronic mail, chat logs, electronic messages, books,
    ledgers, and records bearing on the production, reproduction, receipt, shipment, orders, requests,
    trades, purchases, or transactions involving misbranded drugs.

          5.      ¥ormation or correspondence pertaining to the procurement, development,
    manufacture, shipment, purchase, sale, or distribution of misbranded drugs.

             6.      Any records of customers, suppliers, manufacturers, compounders, employees, or
    other individuals engaged in the procurement, development, manufacture, shipment, purchase,
    sale, or distribution of misbranded drugs.

          · 7.     Any misbranded, adulterated or unapproved drugs, drugs, pharmaceutical
    ingredients and products. All labeling, packaging, literature, inserts, and other materials pertaining
    to these products.

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            8.     All business records, contracts, agreements and related correspondence, in
     whatever form, including handwritten and computer generated. involving the acquisition.
     manufacture, development. sale, and distribution of misbranded, adulterated, or unapproved drugs,
     and any associated business entities pertaining to the illegal purchase, possession, and
     unauthorized distribution of any of drugs, phannaceutical ingredients and products and
     misbranded, adulterated and unapproved drugs .

            9.     Address books, mailing lists, supplier lists, and any and all documents and records
    pertaining to the preparation, purchase, and acquisition of names or lists of names pertaining to
    the purchasing and selling of drugs, pharmaceutical ingredients and products and misbranded.
    adulterated or unapproved drugs.


            IO.    Evidence of purchases and sales of drugs, pharmaceutical ingredients and products
    and misbranded. adulterated or unapproved drugs, to include not limited to, bank statements, credit
    card statements, cancelled checks and checkbooks.

        C. Search and Seizure of Electronically Stored Information

             The items to be seized from the Subject Premises also include any computer devices and
    storage media that may contain any electronically stored information falling within the categories
    set forth in Section II.A of this Attachment above, including, but not limited to, desktop and laptop
    computers, disk drives, modems, thumb drives, personal digital assistants, smart phones, digital
    cameras, and scanners. In lieu of seizing any such computer devices or storage media, this warrant
    also authorizes the copying of such devices or media for later review.

           The items to be seized from the Subject Premises also include:

           1.       Any items or records needed to access the data stored on any seized or copied
    computer devices or storage media, including but not limited to any physical keys, encryption
    devices, or records oflogin credentials, passwords, private encryption keys, or similar information.

           2.     Any items or records that may facilitate a forensic examination of the computer
    devices or storage media, including any hardware or software manuals or other information
    concerning the configuration of the seized or copied computer devices or storage media.

            3.     Any evidence concerning the identities or locations of those persons with access to,
    control over, or ownership of the seized or copied computer devices or storage media.

       D. Review of ESI

            Following seizure of any computer devices and storage media and/or the creation of
    forensic image copies, law enforcement personnel (who may include, in addition to law
    enforcement officers and agents, attorneys for the government, attorney support staff, agency
    personnel assisting the government in this investigation, and outside technical experts under
    government control) are authorized to review the ESI contained therein for information responsive
    to the warrant.

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            In conducting this review, law enforcement personnel may use various techniques to l9cate
     information responsive to the warrant, including, for example:

            •    surveying various file "directories" and the individual files they contain (analogous to
                 looking at the outside of a file cabinet for the markings it contains and opening a drawer
                 believed to contain pertinent files) ;

            •    opening or cursorily reading the first few "pages" of such files in order to detennine
                 their precise contents;

            •    scanning storage areas to discover and possibly recover recently deleted files or
                 deliberately hidden files;

            •     performing key word searches through all electronic storage areas to determine whether
                ; occurrences oflanguage contained in such storage areas exist that are intimately related
                 to the subject matter of the investigation; and

           •    reviewing metadata, system information, configuration files, registry data, and any
                other information reflecting how, when, and by whom the computer was used.

           Law enforcement personnel will make reasonable efforts to search only for files,
    documents, or other electronically stored information within the categories identified in Sections
    II.A and II.B of this.Attachment. However, law enforcement personnel are authorized to conduct  ,,
    a complete review of all the ESI from seized devices or storage media if necessary to evaluate its
    contents and to locate all data responsive to the warrant.




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